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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 YIWU YUXIN E-COMMERCE FIRM,

                       Plaintiff,
                v.

 THE PARTNERSHIPS and                                  Civil Action No. 1:23-cv-09264
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”

                       Defendants.


       NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Yiwu Yuxin E-Commerce Firm

(“Plaintiff”), by and through its undersigned counsel, hereby voluntarily dismisses this action

WITHOUT PREJUDICE as to the following Temu Defendants:


 No.      Defendant Name                        Online Marketplaces/Store ID

 13       Chereda                               63520283343


        Prior to the filing of this notice, Defendants have yet to file an answer or motion for

summary judgment.
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DATED: December 5, 2023                                  Respectfully submitted,

                                                         By: /s/ Stevenson Moore
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                                                         Counsel for Plaintiff



                              CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of December, 2023, Defendants were served with a
copy of the foregoing via email as per paragraph 6 of this Court’s Temporary Restraining Order
(Dkt. No. 13).

                                                         /s/ Stevenson Moore
                                                         Stevenson Moore
